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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                                      CASE NO. 19-61324-CIV-DIMITROULEAS

  SCOTT THOMAS,

         Plaintiff,

  vs.

  BROWARD COUNTY SHERRIFF’S
  OFFICE,

        Defendant.
  ___________________________________/

                                       FINAL JUDGMENT


         THIS CAUSE is before the Court upon the Trial conducted January 24-27, 2022 and the

  Jury Verdict of January 27, 2022.


         Accordingly, it is ORDERED AND ADJUDGED as follows:


         1.      Judgment is entered in favor of Plaintiff SCOTT THOMAS and against

                 Defendant BROWARD COUNTY SHERRIFF’S OFFICE in the amount of

                 $240,000, plus post judgment interest at the legal rate, for which let execution

                 issue.

         2.      The Clerk shall CLOSE this case and DENY any pending motions as moot.

         DONE AND ORDERED in Chambers in Fort Lauderdale, Broward County, Florida,

  this 27th day of January, 2022.
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  Copies furnished to:
  Counsel of Record
